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                           Park Legal Counsel Group, PLLC
                                   140 Broadway, 46F
                                  New York, NY 10005
                            T: 212-858-7580/F: 917-720-9820

August 1, 2019

Via ECF Transmission

Hon. Therese Wiley Dancks,
U.S. Magistrate Judge
Federal Building and U.S. Courthouse
Syracuse NY 13261-7346
T: 315-234-8613

       Re:     Jane Doe v. Syracuse University
               Case No: 5:18-CV-1100 (BKS/TWD)
               Request for an Adjournment

Dear Judge Dancks:

      Plaintiff’s opposition to defendant’s motion to dismiss is due August 6, 2019 as per Your
Honor’s Order of July 16, 2019.

         In light of our motion for reconsideration of withdrawal as counsel submitted on July 30,
2019, we would like to request the above due date as well as defendant’s reply date be adjourned
to later dates pending the resolution of our motion.

       We already conferred with defense counsel, Mr. Melvin, regarding this matter. He has no
opposition to our request.

       Thank you.

       /s/ J. H. Park
       Joon H. Park

cc:    Barclay Damon
       Attn: Edward G. Melvin II, Esq.
       125 East Jefferson Street
       Syracuse, NY 13202
       T: 315- 425-2783
